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the account. A key fob may not be required, or rather simply an MFA code retrieved from an
Authentication App.
15. The following is a June 27, 2024 screenshot showing the current authentication

methods available for the Null Backup account:

eg Null Backup | Authentication methods
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1G Swecm to tha res vier athermication muthods exparence! Click New to wom it eon, —#

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Authentication contact info

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Thus, Defendant Dillon-Capps, or anyone else, could likely access the Null Backup account
without any multifactor authentication whatsoever and would only need the password for the
account. No key fob appears to be required.

16. For the reasons stated in Paragraphs 12 through 15 above, contrary to Defendant
Ryan Dillon-Capps testimony, Defendant Dillon-Capps could access Global Admin rights for the
Ohana Microsoft 365 Tenant and could comply with the TRO and Preliminary Injunction
without using one of the purportedly missing key fobs.
I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY AND

UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE FOREGOING
PAPER AND EXHIBITS THERETO ARE TRUE.

DocuSigned by:

Date: July 3, 2024 Daniel J. [rut

Daniel J. Levett

119447\000004\4889-7839-6622, v2

Identity & Insurance & Mail Fraud Summary 1 of 34 EXHIBIT 103

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the Ohana GoDaddy Account, the direction of Ohana’s registered domain names to Ohana’s
company email and websites are at risk.

hs Even a temporary disruption of the Ohana MS 365 Account and/or the Ohana
GoDaddy Account would result in tremendous disruption of Ohana’s business operation and
irreparable harm to Ohana. Given Dillon-Capps refusal to act as directed by his supervisors and
other behavior, Ohana believes that, in the absence of a Court Order directing Dillon-Capps to
immediately provide the Global Administrator rights to Phil Leadore there is a significant risk that
Dillon-Capps will take action to disrupt Ohana’s software systems and business operations and to
destroy or corrupt Ohana’s data.

I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY

AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.

DocuSigned by:

Justin. Drummond

B7OR7DAANOIEZBD

Justin Drummond

Date: June 14, 2024

119447\000002\4857-0854-3432.v1

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15. Without administrative rights to the Ohana Microsoft 365 account, Ohana is unable
to manage any of its Microsoft 365 software applications and related data. So long as Dillon-Capps
continues to hold exclusive Global Admin rights to the Ohana MS 365 Account, and by extension
Ohana’s employee email accounts and data, those accounts and data are vulnerable to disruption
by Dillon-Capps. So long as Dillon-Capps continues to hold exclusive administrative control over
the Ohana GoDaddy Account, the direction of Ohana’s registered domain names to Ohana’s
company email and websites are at risk.

16. | Even a temporary disruption of the Ohana MS 365 Account and/or the Ohana
GoDaddy Account would result in tremendous disruption of Ohana’s business operation and
irreparable harm to Ohana. Given Dillon-Capps refusal to act as directed by his supervisors and
other behavior, Ohana believes that, in the absence of a Court Order directing Dillon-Capps to
immediately provide the Global Administrator rights to Phil Leadore there is a significant risk that
Dillon-Capps will take action to disrupt Ohana’s software systems and business operations and to
destroy or corrupt Ohana’s data.

I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY

AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.

DocuSigned by:

Date: June 14, 2024 Ricard, Harta.

SBBCHSSSI PBST

Richard Hartman

119447\000002\4859-0397-1784.v1

Identity & Insurance & Mail Fraud Summary 3 of 34 EXHIBIT 103

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16. | have reviewed the proposed Order Granting Preliminary Injunction prepared by
Ohana and for the reasons set forth above it is my opinion to a reasonable degree of professional
certainty that Defendant Dillon-Capps compliance with that Order, if entered by the Court, will
not result in the violation of the PCI DSS.

I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY

AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.

Date: June 25, 2024

Randall Romes

119447\000004\4859-9398-8811.v1

Identity & Insurance & Mail Fraud Summary 4 of 34 EXHIBIT 103

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16. I have reviewed the proposed Order Granting Preliminary Injunction prepared by
Ohana and for the reasons set forth above it is my opinion to a reasonable degree of professional
certainty that Defendant Dillon-Capps compliance with that Order, if entered by the Court, will

not result in the violation of the PCI DSS.

I SOLEMNLY DECLARE AND AFFIRM UNDER PENALTIES OF PERJURY
AND UPON PERSONAL KNOWLEDGE THAT THE CONTENTS OF THE
FOREGOING PAPER AND EXHIBITS THERETO ARE TRUE.

Digitally signed by Randall J.
Randall J. Romes tomes

Date: 2024.06.25 09:59:53 -05'00'
Date: June 25, 2024

Randall Romes

This is the only affidavit signed this way.

The transcript of the 26th and 27th does not reflect the proceedings entirely. Notably is the
testimony of Randal Romes and Caroline Dillon-Capps who had their testimony redacted.

Romes was asked about the affidavit, and Barranco immediately stopped cross and
redirected to ask questions to Dillon-Capps

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Identity & Insurance & Mail Fraud Summary 5 of 34 EXHIBIT 103

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Subject: RE: (EXTERNAL] RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264

From: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>

To: “Brennen, Robert S." <RBRENNEN@MilesStockbridge.com>

Cc: “Frenkil, Steven D," <sfrenkil@MilesStockbridge.com>, “ryan@mxt3.com* <ryan@mxt3.com>, “Hoffberger, Victoria (Tory)" <vhoffberger@milesstockbnidge com>
Date Sent: Tuesday, June 25, 2024 12:02:14 PM GMT-04:00

Date Received: Tuesday. June 25, 2024 12:02:18 PM GMT-04:00

Good afternoon,

Judge Truffer addressed this matter during Chambers duties. As long as everything is filed in MDEC, you do not have to send a courtesy copy to me. | am not sure who this will be

assigned to,

Thank you,

sure Nothing about this conversation is real or

Lauren Prinkey : legitimate. The eFile system rejects live

Judicial Assis’ eH able Keith R. Truffe . «gs

Circuit Coun for BaltimoreComty signatures because the prevent editing of the
401 Bosley Avenue document. Tested and verified, after you file the
Towson, MD 21204 ‘

410-887-6515 (Office) system kicks it out.

410-296-1810 (Fax)

From: Brennen, Robert 5. <RBRENNEN@MilesStockbridge.com>

Sent: Tuesday, June 25, 2024 11:57 AM

To: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>

Cc: Frenkil, Steven D. <sfrenkil@MilesStockbridge.com>; ryan@mxt3.com; Hoffberger, Victoria (Tory) <vhoffberger @milesstockbridge.com>
Subject: [EXTERNAL] RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264

Dear Ms. Prinkey,

For some reason, when we created the combined pdf | sent you a moment ago Mr. Romes e-signature was removed from his affidavit.
Attached are the documents as filed with the signed affidavit.

Respectfully,

Robert Brennen Principal
Miles & Stockbridge
\ A direct: +1 (410) 385-3653

From: Brennen, Robert 5.

Sent: Tuesday, June 25, 2024 11:43 AM

To: Lauren Prinkey <Lauren Prinkey/@mdrourts coy>

Ce: Frenkil, Steven D, <sfrenkil@ MilesStockbridge,com>; ryan@mxt3.com; Hoffberger, Victoria (Tory) <vhoffherger@milesstockbridge.com>
Subject: RE: Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264

Importance: High

Dear Ms. Prinkey,
The Plaintiff in the above-reference matter just filed the attached with the Clerk via MDEC.

Respectfully,

Robert Brennen Principa!
Miles & Stockbridge
\ A direct: +1 (410) 385-3653

From: Lauren Prinkey <Laure!),Prinkey @mdcourts,zov>

Sent: Friday, June 21, 2024 12:04 PM

To: Brennen, Robert S. <RERENNEN@ MilesStockbridge.com>; Frenkil, Steven D. <sfrenkii@MilesStockbridge.com>: rvan@mxt3.com
Subject: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264

[EXTERNAL]

Good afternoon,

Please see the attached orders from the court.

Thank you,
Lauren

Lauren Prinkey

Judicial Assistant to the Honorable Keith R. Truffer
Circuit Court for Baltimore County

401 Bosley Avenue

Towson, MD 21204

410-887-6515 (Office)

410-296-1810 (Fax)

Identity & Insurance & Mail Fraud Summary 6 of 34 EXHIBIT 103

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Identity & Insurance « & Mail Fraud Summary fi of 34 4 tial EXHIBIT 103

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Dillon-Capps
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Maple Avenue

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EXHIBIT 103

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Ryan Dillon-Capps

and Spouse/Dependents (if any)
1334 Maple Avenue

Essex, MD 21221

217688/Oh A - OGP/Di -
7 ana Growth Partners LLC- OGP/Direct - KBS 6989924

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Kelly Benefits

November 07, 2024

Ryan Dillon-Capps Si usted preferiria recibir esta notificacién
and Spouse/Dependents (if any) en espanol, favor de comunicarse con el
1334 Maple Avenue Centro de Servicio al cliente de COBRA en
Essex, MD 21221 Kelly Benefits al 443-589-1862 0 al

866-696-4548.

IMPORTANT INFORMATION: COBRA Continuation Coverage and other Health Coverage Alternatives
Dear Ryan Dillon-Capps:

This notice has important information about your right to continue your group health care coverage in the
Ohana Growth Partners LLC- OGP (the Plan), as well as other health coverage options that may be
available to you, including coverage through the Health Insurance Marketplace at www.HealthCare.gov or
call 1-800-318-2596. You may be able to get coverage through the Health Insurance Marketplace that costs
less than COBRA continuation coverage.

Please read the information in this notice very carefully before you make your decision. If you choose to elect
COBRA continuation coverage, you should use the election form provided later in this notice. If you have any
questions about this notice and/or your right to elect COBRA continuation coverage, you may contact Kelly
Benefits Insurance Group, Inc. (Kelly Benefits). Contact information for Kelly Benefits, including the address and
telephone number, is provided later in this notice. Kelly Benefits is the third-party COBRA administrator. You
may also contact the Plan Administrator for the Plan.

Why am I getting this notice?

You're getting this notice because your coverage under the Plan will end on 09/30/2024* due to:

[x] End of employment i Entitlement to Medicare
|_| Divorce or legal separation _] Loss of dependent child status
_! Death of employee i Reduction in hours of employment

Federal law requires that most group health plans (including this Plan) give employees and their families the
opportunity to continue their health care coverage through COBRA continuation coverage when there’s a
“qualifying event” that would result in a loss of coverage under an employer’s plan.

What is COBRA continuation coverage?

COBRA continuation coverage is the same coverage that the Plan gives to other participants or beneficiaries who
aren’t getting continuation coverage. Each “qualified beneficiary” (described below) who elects COBRA
continuation coverage will have the same rights under the Plan as other participants or beneficiaries covered under
the Plan.

* This represents the date your medical coverage will end. For the purpose of this notice, health care coverage includes

but is not limited to vision, dental, RX, and EAP. Each plan is separate and has separate carrier rules. As a result,
effective dates, termination dates and billing may vary pursuant to the carrier rules for the type of coverage selected.

i Kelly Way - Sparks,MD 21152 | COBRACall Center
P) 443 589 1862 (TF}8666964548 | (F)4105275905 | cobrainfo@kellybenefits.com

kellybenefits.com

Scanned these documents multiple times before realizing they were scanned in this way to be
edited by the Defendants. We confirmed with the originals that were mailed.

This matches the contracts slant which places the forgery with Ohana Growth Partners, LLC.
Both Contract and Benefits are under HR -- Reflective of Richard Hartman

217688/Ohana Growth Partners LLC- OGP/Direct - KBS 6989924

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Who are the qualified beneficiaries?

Each person (“qualified beneficiary”) in the category(ies) checked below has an independent right to elect COBRA
continuation coverage:

[x] Employee or former employee Ryan Dillon-Capps
[x] Spouse or former spouse Caroline Dillon

Dependent child(ren) covered under the Plan on the day before the event that caused the loss of coverage

Child who is losing coverage under the Plan because he or she is no longer a dependent under the Plan.

With the exception of a child bom to, adopted by or placed for adoption with the covered employee during the
COBRA continuation coverage period, a family member that you enroll after COBRA begins (e.g. during annual
enrollment or through a special enrollment) is not a qualified beneficiary.

Detailed instructions for electing COBRA continuation coverage are provided later in this notice. NOTE: If you
do not elect COBRA continuation coverage in accordance with these instructions, your coverage under the Plan
will end on the date identified on the front page of this notice and you will lose your right to elect COBRA
continuation coverage

Are there other coverage options besides COBRA Continuation Coverage?

Yes. Instead of enrolling in COBRA continuation coverage, there may be other more affordable coverage options
for you and your family through the Health Insurance Marketplace, Medicaid, or other group health plan coverage
options (such as a spouse’s plan) through what is called a “special enrollment period.” Some of these options may
cost less than COBRA continuation coverage.

You should compare your other coverage options with COBRA continuation coverage and choose the coverage
that is best for you. For example, if you move to other coverage you may pay more out of pocket than you would
under COBRA because the new coverage may impose a new deductible,

When you lose job-based health coverage, it’s important that you choose carefully between COBRA continuation
coverage and other coverage options, because once you've made your choice, it can be difficult or impossible to
switch to another coverage option.

If I elect COBRA continuation coverage, when will my coverage begin and how long will the coverage last?

If elected, COBRA continuation coverage will begin on 10/01/2024 and can last until 04/01/2026.

You may elect any of the following options for COBRA continuation coverage listed later in this notice.
Continuation coverage may end before the date noted above in certain circumstances, like failure to pay premiums,
fraud, or the individual becomes covered under another group health plan.

Can I extend the length of COBRA continuation coverage?

If you elect continuation coverage, you may be able to extend the length of continuation coverage if a qualified
beneficiary is determined by the Social Security Administration to be disabled, or if a qualified beneficiary
experiences a second qualifying event during the COBRA continuation period. You must notify Kelly Benefits of a
disability or a second qualifying event within a certain time periods described below to extend the period of
continuation coverage. If you don’t provide notice of a disability or second qualifying event within the required
time period, it will affect your right to extend the period of continuation coverage.

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Disabttityv

An 11-month extension of coverage may be available if any of the qualified beneficiaries is determined under the
Social Security Act (SSA) to be disabled. The disability has to have started at some time on or before the 60th day
of COBRA continuation coverage and must last at least until the end date of the 18-month period of continuation
coverage. To be considered for the extension, you must send a copy of the original SSA’s notice which shows the
exact date that the qualified beneficiary became disabled to Kelly Benefits within the first 18 months of the
COBRA continuation coverage and within 60 days, starting from the latest of: (1) the date on which SSA issues
the disability determination; (2) the date of which the qualifying event occurs; (3) the date on which the qualified
beneficiary loses or would lose coverage under the plan as a result of the qualifying event; or (4) the date on which
the qualified beneficiary is informed through the furnishing of the COBRA general notice, of the responsibility to
notify the Plan and the procedure for doing so.

Each qualified beneficiary who has elected continuation coverage will be entitled to the 11-month disability
extension if any qualified beneficiary is disabled and timely notice has been provided. If the qualified beneficiary
is determined to no longer be disabled under the SSA, you must notify the Plan of that fact within 30 days after
SSA’s determination.

Second Qualifving Event

An extension of coverage will be available to qualified beneficiary spouses and dependent children who elect
continuation coverage if a second qualifying event occurs during the first 18 (or 29 if the disability extension
applies) months of continuation coverage. The maximum amount of continuation coverage available when a
second qualifying event occurs is 36 months measured from the first qualifying event identified in this notice. Such
second qualifying events may include the death of a covered employee, divorce or legal separation from the
covered employee, the covered employee’s becoming entitled to Medicare benefits (under Part A, Part B, or both),
or a dependent child’s ceasing to be eligible for coverage as a dependent under the Plan. These events are second
qualifying events only if they would have caused the qualified beneficiary to lose coverage under the Plan if the
first qualifying event had not occurred. You must notify the Kelly Benefits within 60 days after a second
qualifying event occurs if you want to extend your continuation coverage.

For more information about extending the length of COBRA continuation coverage visit

https://www.dol. gow/sites/dolgow/ files/EBSA/about-ebsa/ou r-activities/resource-center/publications/an-emplovees-

guide-to-health-benefits-under-cobra.pdf

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Which Plan benefits may I choose and how much does COBRA continuation coverage cost?

The election form below identifies the specific Plan benefits that you may continue and the cost of each benefit.
You may clect any of the following options for COBRA continuation coverage. COBRA continuation coverage
will cost (monthly premium including 2% COBRA Fee):

Plan rates and effective/end dates shown on this form are accurate to the best of the publisher's knowledge;
however, are subject to correction if found to be in error. Plans and Plan rates subject to change at the Plan's next

renewal,

Line Of Previous | |
| Business (Coverage Plan Name IND | H&W P&C Pc2 FAM
Dental Haw —_|CIGNA DENTAL PPO 50+ $28.85 $56.30] $70.86) $70.86 $98.16
Health Haw Open Access Plus HSA $734.81! $1,700.81 /$1,366.42/ $1,366.42) $2,072.32
EAP NIA [EAP $1.53 $1.53) $1.53 $1.53 $1.53
Vision H&w Vision 50+ $5.41 $10.83) $10.93 $10.93] $17.46

Other coverage options may cost less. If you choose to elect continuation coverage, you don’t have to send any payment
with the Election Form. (If first payment is not enclosed you may not be able to access health care coverage

until payment is received.) Additional information about payment will be provided to you after the election form

is received by the Plan. Important information about paying your premium can be found at the end of this notice.

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You may be able to get coverage through the Health Insurance Marketplace that costs less than COBRA
continuation coverage. You can leam more about the Marketplace below

What is the Iealth Insurance Marketplace?

The Marketplace offers "one-stop shopping" to find and compare private health insurance options. In the Marketplace,
you could be eligible for a new kind of tax credit that lowers your monthly premiums and cost-sharing reductions
(amounts that lower your out-of-pocket costs for deductibles, coinsurance, and copayments) right away, and you can
see what your premium, deductibles, and out-of-pocket costs will be before you make a decision to enroll. Through the
Marketplace you'll also leam if you qualify for free or low-cost coverage from Medicaid or the Children's Health

Insurance Program (CHIP). You can access the Marketplace for your state at www. HealthCare. gov,

Coverage through the Health Insurance Marketplace may cost less than COBRA continuation coverage. Being offered
COBRA continuation coverage won't limit your eligibility for coverage or for a tax credit through the Marketplace.

When can I enroll in Marketplace coverage?

You always have 60 days from the time you lose your job-based coverage to enroll in the Marketplace. That is because
losing your job-based health coverage is a “special enrollment" event. After 60 days your special enrollment period
will end and you may not be able to enroll, so you should take action right away. In addition, during what is called
an "open enrollment" period, anyone can enroll in Marketplace coverage.

To find out more about enrolling in the Marketplace, such as when the next open enrollment period will be and what
you need to know about qualifying events and special enrollment periods, visit www.HealthCare.gov.

If l sign up for COBRA continuation coverage, can I switch to coverage in the Marketplace? What about if I
choose Marketplace coverage and want to switch back to COBRA continuation coverage?

If you sign up for COBRA continuation coverage, you can switch to a Marketplace plan during a Marketplace open
enrollment period. You can also end your COBRA continuation coverage early and switch to a Marketplace plan if you
have another qualifying event such as marriage or birth of a child through something called a "special enrollment
period." But be careful though - if you terminate your COBRA continuation coverage early without another qualifying
event, you'll have to wait to enroll in Marketplace coverage until the next open enrollment period, and could end up
without any health coverage in the interim.

Once you've exhausted your COBRA continuation coverage and the coverage expires, you'll be eligible to enroll in
Marketplace coverage through a special enrollment period, even if Marketplace open enrollment has ended.

If you sign up for Marketplace coverage instead of COBRA continuation coverage, you cannot switch to COBRA
continuation coverage under any circumstances,

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Can I enroll in another group health plan?

You may be eligible to enroll in coverage under another group health plan (like a spouse's plan), if you request
enrollment within 30 days of the loss of coverage.

If you or your dependent chooses to elect COBRA continuation coverage instead of enrolling in another group health
plan for which you're eligible, you'll have another opportunity to enroll in the other group health plan within 30 days
of losing your COBRA continuation coverage or during the other plan’s annual enrollment period.

Can I enroll in Medicare instead of COBRA continuation coverage after my group health plan coverage ends?

In general, if you don't enroll in Medicare Part A or B when you are first eligible because you are still employed, after
the initial enrollment period for Medicare Part A or B, you have an 8-month special enrollment period to sign up,
beginning on the earlier of

® The month after your employment ends; or
@ The month after group health plan coverage based on current employment ends

If you don't enroll in Medicare Part B and elect COBRA continuation coverage instead, you may have to pay a Part B
late enrollment penalty and you may have a gap in coverage if you decide you want Part B later. If you elect COBRA
continuation coverage and then enroll in Medicare Part A or B before the COBRA continuation coverage ends, the
Plan may terminate your continuation coverage. However, if Medicare Part A or B is effective on or before the date of
the COBRA election, COBRA coverage may not be discontinued on account of Medicare entitlement, even if you
enroll in the other part of Medicare after the date of the election of COBRA coverage

What factors should I consider when choosing coverage options?
When considering your options for health coverage, you may want to think about:
@ Premiums: Your previous plan can charge up to 102% of total plan premiums for COBRA coverage. Other

options, like coverage on a spouse’s plan or through the Marketplace, may be less expensive.
@ Provider Networks : If you’re currently getting care or treatment for a condition, a change in your health

coverage may affect your access to a particular health care provider. You may want to check to see if your
current health care providers participate in a network as you consider options for health coverage.

@ Drug Formularies: If you're currently taking medication , a change in your health coverage may affect your
costs for medication - and in some cases, your medication may not be covered by another plan. You may want
to check to see if your current medications are listed in drug formularies for other health coverage,

@ Severance payments : If you lost your job and got a severance package from your former employer, your
former employer may have offered to pay some or all of your COBRA payments for a period of time. In this
scenario, you may want to contact the Department of Labor at 1-866-444-3272 to discuss your options

@ Service Areas : Some plans limit their benefits to specific service or coverage areas - so if you move to
another area of the country, you may not be able to use your benefits. You may want to see if your plan has a
service or coverage area, or other similar limitations

®@ Other Cost-Sharing: In addition to premiums or contributions for health coverage, you probably pay
copayments, deductibles, coinsurance, or other amounts as you use your benefits. You may want to check
to see what the cost-sharing requirements are for other health coverage options. For example, one option may
have much lower monthly premiums, but a much higher deductible and higher copayments.

hitps://vww.medicare. gov/sign-up-change-plans/how-do-i-get-parts-a-b/part-a-part-b-sign-up-periods. These rules are
different for people with End Stage Renal Disease (ESRD),

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For more information

This notice doesn't fully describe continuation coverage or other rights under the Plan. More information about
continuation coverage and your rights under the Plan is available in your summary plan description or from the Plan
Administrator,

If you have questions about the information in this notice, your rights to coverage, or if you want a copy of your
summary plan description, contact Kelly Benefits COBRA Call Center via e-mail at cobrainfo@kellybenefits.com, or
mail at | Kelly Way, Sparks, MD 21152, or phone at 443-589-1862 or 866-696-4548.

For more information about your rights under the Employee Retirement Income Security Act (ERISA), including
COBRA, the Patient Protection and Affordable Care Act, and other laws affecting group health plans, visit the U.S.
Department of Labor s Employee Benefits Security Administration(EBSA) website at www.dol.gov/ebsa or call their
toll-free number at 1-866-444-3272. For more information about health insurance options available through the Health
Insurance Marketplace, and to locate an assister in your area who you can talk to about the different options, visit
www.HealthCare.gov.

Keep Your Plan Informed of Address Changes

To protect your and your family's rights keep Kelly Benefits and the Plan Administrator informed of any changes in
your address and the addresses of family members. You should also keep a copy of any notices you send to Kelly
Benefits the Plan Administrator in accordance with this notice.

217688/Ohana Growth Partners LLC- OGP/Direct - KBS 6989924
EXHIBIT 103

. Identity & Insurance & Mail Fraud Summary 16 of 34

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COBRA Continuation Coverage Election Form

Instructions: To elect COBRA continuation coverage, complete this Election Form and return it to us.
Under Federal law, you must have 60 days from the later of the coverage loss date or the date of this notice
to decide whether you want to elect COBRA continuation coverage under the Plan.

Send completed Election Form to:
Kelly Benefits
COBRA Department
I Kelly Way
Sparks, MD 21152
Fax: 410-527-5905

This Election Form must be completed and returned by mail, fax, or hand-delivered within sixty (60) days
from the later of the coverage loss date or the date of this notice. If mailed, it must be post-marked no later
than sixty (60) days from the later of the coverage loss date or the date the COBRA election notice is
provided by the plan administrator.

If you do not submit a completed Election Form within 60 days from the later of the coverage loss date or
the date of this notice, you will lose your right to elect COBRA continuation coverage. If you reject COBRA
continuation coverage in writing before the due date, you may change your mind as long as you furnish a
completed Election Form before the due date. However, if you elect COBRA continuation coverage after
first rejecting it in writing, your COBRA continuation coverage may not begin until the date you furnish the
completed Election Form (at the discretion of the Plan Administrator and/or the insurance carrier).

Read the important information about your rights included in the pages after the Election Form.

I (We) elect COBRA continuation coverage in the Ohana Growth Partners LLC- OGP (the Plan) as listed below:

Name Date of Birth Relationship to Employee SSN (or other identifier)

a.

Coverage option(s) elected:

b.

Coverage option(s) elected:

Cc,

Coverage option(s) elected:

Please complete the required field below.

Signature Date
Print Name Relationship to individual(s) listed above
Print Physical Address Print Billing Address (if different from Physical Address)
Telephone Number E-mail address (Required)
217688/Ohana Growth Partners LLC- OGP/Direct « KBS 6989924

EXHIBIT 103
Identity & Insurance & Mail Fraud Summary 17 of 34

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Important Information About Payment
First payment for continuation co verage

You must make your first payment for continuation coverage no later than 45 days after the date of your election (this
is the date the Election Notice is postmarked). If you don’t make your first payment in full no later than 45 days
after the date of your election, you'll lose all continuation coverage rights under the Plan. You're responsible
for making sure the amount of your first payment is correct. You may contact our Kelly Benefits COBRA Call Center
via e-mail at cobrainfo(@kellybenefits.com, or mail at 1 Kelly Way, Sparks, MD 21152, or phone at 443-589-1862 or
866-696-4548 to confirm the correct amount of your first payment.

Periodic payments for continuation co verage

After you make your first payment for continuation coverage, you'll have to make periodic payments for each
coverage period that follows. The amount due for each coverage period for each qualified beneficiary is shown in this
notice.

The periodic payments can be made on a monthly basis. Under the Plan, each of these periodic payments for
continuation coverage is due on the 25th day of the month prior to the coverage month for that coverage period. If you
make a periodic payment on or before the first day of the coverage period to which it applies, your coverage under the
Plan will continue for that coverage period without any break. The Plan will NOT send periodic notices of payments
due for these coverage periods,

Grace periods for periodic payments

Although periodic payments are due on the dates shown above, you'll be given a grace period of 30 days after the first
day of the coverage period to make each periodic payment. You’ll get continuation coverage for each coverage period
as long as payment for that coverage period is made before the end of the grace period. If you pay a periodic payment
later than the first day of the coverage period to which it applies, but before the end of the grace period for the
coverage period, your coverage will be suspended as of the first day of the coverage period and then retroactively
reinstated (going back to the first day of the coverage period) when the periodic payment is received. This means that
any claim you submit for benefits while your coverage is suspended may be denied and may have to be resubmitted
once your coverage is reinstated.

If you don’t make a periodic payment before the end of the grace period for that coverage period, you'll lose all
rights to continuation coverage under the Plan.

Your first payment continuation coverage should be sent to:

Kelly Benefits
COBRA Department
1 Kelly Way

Sparks, MD 21152

All subsequent payments for continuation coverage should be sent to:

Kelly Benefits
PO Box 418926
Boston, MA 02241-8926

All payments should be made payable to Kelly Benefits.

217688/Ohana Growth Partners LLC- OGP/Direct - KBS 6989924

IBIT 103
. Identity & Insurance & Mail Fraud Summary 18 of 34 EXH

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If you elect continuation coverage and intend for anyone other than the covered dependents or yourself to request

information regarding the account, you must complete this form in its entirety. Forms must be completed, signed, and
dated to be accepted. To facilitate accurate processing and prevent delays in service, please print or type.

Authorization for Release of Information

*] (Print Primary Subscriber Full Name)hereby authorize the use

or disclosure of my individually identifiable health information as described below. I understand that this authorization is
voluntary and that ] may refuse to sign this authorization, and that I may revoke it at any time by submitting my revocation
in writing to the entity providing the information.

*List ail persons/organizations authorized to provide the information.

Kelly & Associates Insurance Group, Inc. (Kelly Benefits)

*List all persons/organizations authorized to request and receive the information. (Nore: Kelly Benefits will not share any
information (including benefit elections, payments, ete.) with any person(s) not listed below:

*Information authorized for release: (Please check ALL that apply)

Premium payment information Claims/EOB information

Enrollment & benefit information Information pertaining to an appeal

Other:

(Please specify)
*Purpose for the use or release of the information indicated above: (Please check ALL that apply)
Health care Legal
Personal use Other:

(Please specify)
Important Information About Your Rights
I have read and understood the following statements about my rights.

@ [may revoke this authorization at any time prior to its expiration date by notifying the providing organization in writing
but the revocation will not have any effect on any actions that the entity took before it received the revocation.

I may see and copy the information described on this form if] ask for it
I am not required to sign this form to receive my health care benefits (enrollment, treatment, or payment).

The information that is used or disclosed pursuant to this authorization may be redisclosed by the receiving entity. | have
the right to seek assurances from the above-named persons/organizations authorized to receive the information that they

will not redisclose the information to any other party without my further authorization.

*Signature of Primary Subscriber Authorizing Release of Information *Date

Send completed form to Kelly Benefits COBRA Department, I Kelly Way, Sparks, MD 21152 or fax at 410-527-5905,

217688/Ohana Growth Partners LLC- OGP/Direct - KBS 6989924

T 103
Identity & Insurance & Mail Fraud Summary 19 of 34 EXHIBI

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ask her?
DIRECT EX

BY MR. DILLON-CAPPS:

Q Erm, has every

erratic, erm, memory loss,

erm, not there, erm, has --
be true?

A Yes.

QO Has there been
the -- the things that I do

been not observed at home?

Filed 01/03/25 Page 20 of 34

a3

AMINATION

thing I said about being
uh, moments of cognition,

have you observed that to

any indication that like

in this courtroom have

A No, it's been true to what's been going
I'm Sorry, was said
on at home for ever, weeks. during a long
t answer where
Q Mee ey Caroline provided
THE COURT: Is that it? a first hand
account of her
MR. DILLON-CAPPS: That's  ([Gxpenence.
(unintelligible) me.
THE COURT: Cross?
CROSS EXAMINATION
BY MR. BRENNEN:
QO Can you describe, uh, ma'am, did you,
uh, engage in any effort at your home to look for key

fobs or other materials, uh

A Yes, I was tol

basement, erm, we have a be

Identity & Insurance & Mail Fraud Summary 20 of 34

, relevant to this matter?
d to look through the

droom down there anda

EXHIBIT 103

Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 21 of 34

The highlighted section was in response to a much longer statement that has been redacted from the record. a
These are just two examples. The purpose of the transcript and exhibits is to demonstrate that 100% of the
material statements and evidence support RDC, a conclusion that became evident rather quickly. The singular
narrative "the court record doesn't support XYZ" comes after the formal pact is made to cover up.
1 as your tenant is configured and whether or not it
2 requires the multifactor key, in conjunction with the
3 password to log in.
4 The -- I think the key question is, at
5 the time the defendant left or stopped were there
6 other people that had user account profiles that did
7 have global admin access, and if so, who were those
8 people.
9 Because if the defendant has not had any
10 access since then, the other people should still have
11 that, unless the other people disabled it on their
12 own, which seems very unlikely.
13 MR. BRENNEN: I don't have anything
14 further from Mr. Romes, your Honor.
“15 THE COURT: All right. Mr. Dillon-Capps
16 do you have any cross-examination?
17 CROSS EXAMINATION
18 BY MR. DILLON-CAPPS:
19 QO Erm, erm, it -- it sounds like you
20 understand what I'm affirming, that, erm, so I'll be
21 clear. At, uh, on the 20th, uh, only two accounts
22 were disabled. Erm, system was which an account that
23 Mr. Brooks had shared with his staff to use, which
24 also is like the key, uh, tenant, like it holds the
25 key for the intro, erm, which was -- and was elevated

Identity & Insurance & Mail Fraud Summary 21 of 34 EXHIBIT 103

Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 22 of 34

Edwards, Kimale J.

From: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>

Sent: Friday, June 21, 2024 12:04 PM

To: Brennen, Robert S.; Frenkil, Steven D.; ryan@mxt3.com

Subject: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
Attachments: 1942 _001.padf

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[EXTERNAL]

Good afternoon,

This email is not real. Prinkey never sent it.

Please see the attached orders from the court. . :
It was submitted as evidence during the

hearing and then removed.

Thank you,
Lauren

Lauren Prinkey

Judicial Assistant to the Honorable Keith R. Truffer
Circuit Court for Balumore County

401 Bosley Avenue

Towson, MD 21204

410-887-6515 (Office)

410-296-1810 (Fax)

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Identity & Insurance & Mail Fraud Summary 22 of 34 EXHIBIT 103

Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 23 of 34

Edwards, Kimale J.

From: Brennen, Robert S.

Sent: Monday, June 24, 2024 6:59 PM

To: ryan@mxt3.com

Subject: Fwd: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264
Attachments: external.png; first_time_sender_warning.png; 1942_001.pdf

Sent from my iPhone
Begin forwarded message:

From: Lauren Prinkey <Lauren.Prinkey@mdcourts.gov>

Date: June 21, 2024 at 12:04:28 EDT

To: "Brennen, Robert S." <RBRENNEN@milesstockbridge.com>, "Frenkil, Steven D."
<sfrenkil@milesstockbridge.com>, ryan@mxt3.com

Subject: [EXTERNAL] Ohana Growth Partners, LLC v. Ryan Dillon-Capps - C-03-CV-24-2264

[EXTERNAL]

Good afternoon,

Please see the attached orders from the court.

Thank you,
Lauren

Lauren Prinkey

Judicial Assistant to the Honorable Keith R. Truffer
Circuit Court for Baltimore County

401 Bosley Avenue

Towson, MD 21204

410-887-6515 (Office)

410-296-1810 (Fax)

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NO,

Identity & Insurance & Mail Fraud Summary 23 of 34 EXHIBIT 103

Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 24 of 34

Re: Gase No. G-03-CV-244-002264 Ss
Baltimore County Circuit Court i - & Yl
TRO and Preliminary Injunction a3 mee
Ohana Growth Partners “13 & :
on sate
The exhibits attached to the letter on the court oft mp bet
record are fraudulent as well. c “ hepa!
ili
Dear Judge, OS Ao
tb Jrutte:¢ Be

I am writing to bring to your attention urgent matters concerning my current legal situation and
request immediate judicial intervention regarding a Temporary Restraining Order (TRO) and
Preliminary Injunction that conflicts with legal and compliance obligations.

I have been dealing with significant issues related to my employment with Ohana Growth
Partners, which have been exacerbated by recent events. I had secured three strong referrals for
legal assistance, but they conflicted. 1 was starting the process to work with the fourth referral,
but 1 found out at midnight that they couldn’t help me due to a family bereavement and # pre-
scheduled conference. Consequently, they refunded my retainer, leaving me without legal
representation at a critical time.

Carrently; Tams facin ig a Situation Avliere:compliance: with whe 3-TRO,and: Sand Prelimidiary Injunction?
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~mnust choose between wiolaning. ‘federal;compliatice requirements OF being eld in-c¢ ‘In: ncontempt: -6f
§esurt: The: dpposing.couns ef has if informed me that 1 must comply by noon today, June 18, 2024.

read this demand at about a quarter to 11, which eventually led me to write this letter and rush
to the courthouse.

On June 13, 2024, at 7:12 AM, I notified the CFO, Head of HR, and President of Ohana Growth
Partners that I was commencing my FMLA leave due to PTSD. My FMLA status was last
confirmed and validated by the HR Generalist on May 23, 2024. Despite this, at 9:01 AM on the
same day, I received a demand letter requiring me to return to work and I had 6 hours to do it---
or else. In response, I issued a cease and desist letter, whichris included in petitioner Exhibit B,
clarifying that the cease and desist pertained to my right to FMLA leave.

The basis for my suspension, as claimed by my employer. consists of two parts:

1. They misconstrued my cease and desist letter as a refusal to comply with work demands,
despite its clear reference to FMLA leave.

2. They demanded that J grant Global Administrator access, which would be a violation of
PCI compliance. The company failed to inform the court of this crucial compliance issue
and the proactive measures I had taken to grant access to the President under PCI
compliance guidelines.

I have over 25 years of experience in IT and am responsible for ensuring PCI compliance within
the organization. Granting Global Administrator access without ensuring compliance would be a
serious violation of these standards. Despite providing several alternatives and options to my

Identity & Insurance & Mail Fraud Summary 24 of 34 EXHIBIT 103

Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 25 of 34

|
|
employer, they have'persisted in demanding actions that would compromise compliance-and
security.

my IT

Furthermore, the company has engaged in retaliatory actions, including placin
t letter. This

Coordinator on administrative leave shortly after receiving the cease and desi
retaliation appears to be in direct response to my assertion of FMLA rights.

, 1 am seeking

|

1. Clarification and potential modification of the TRO and Preliminary Injunction to ensure
compliance with PCI standards without subjecting me to contempt of gourt.

2. Protection against retaliation for exercising my FMLA rights.

3. Adequate time to secure new legal represehtation to address these urgdnt matters.

~Due to these pressing issues and the sudden unavailability of my legal counse
immediate judicial relief to address the following:

-

All supporting documentation and communications are available to substantizle any claims. I
Printed out as many as I could before rushing over here today. ) °c

Thank you for your prompt attention to this matter.

‘e 4 . » . & . f a
With gratitude and
Ryan Wagner
Tyan@mxt3.com
1334 Maple Ave
Essex MD
31221

‘ DENIED VU

The court has reviewed the Defendant's correspondence and will view it as.a
' request, pursuant to Md. Rule 15-504(f) to dissolve or modify the 6.17.2014 TRO.

The correspondence does not provide sufficient specificity to permit the court to

modify the TRO at this time. The court will consider the Defendant's requests at

the hearing scheduled for 6.26.2024.

se R. rr

15-504f requires a mandatory re-hearing. Truffer denied this
and approved the show casuse at the same time. Filed in the j
same envelope. {

06/21/2024 11:40:18 AM

Identity & Insurance & Mail Fraud Summary 25 of 34 EXHIBIT 103

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E-FILED; Baltimore County Circuit Court
Docket: 6/20/2024 12:24 PM; Submission: 6/20/2024 12:24 PM
Envelope: 16909122

OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, | CIRCUIT COURT

Vs. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. FILE NO.; C-03-CV-24-002264

ORDER TO APPEAR AND SHOW CAUSE

Upon consideration of Ohana’s Petition for Show Cause Order and Constructive Civil
Contempt, and for good cause shown, itisthis 21st of June, 2024

ORDERED that the Petition be, and hereby is, GRANTED; and it is further

ORDERED that Ohana shall appear before the Circuit Court for Baltimore County,
Maryland on the 26th day of June, 2024, at_9 am. for a hearing at which Ryan Dillon-
Capps shall show cause why they should not be held in contempt of this Court’s June 17, 2024

Temporary Restraining Order.

Le yw.

Judge Keith R. Truffer ‘SN

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Identity & Insurance & Mail Fraud Summary 26 of 34 EXHIBIT 103

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Document 16-4 Filed 01/03/25 Page 27 of 34

Ryan Dillon-Capps
1334 Maple Avenue
Essex, Maryland 2122]

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Ryan Dillon-Capps
1334 Maple Avenue
Essex, Maryland 21221]
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Ryan Dillon-Capps
1334 Maple Avenue
Essex, Maryland 2122]

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« JULIE L. ENSOR, CLERK

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COUNTY COURTS BUILDING
P.O. BOX 6754
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To: RYAN WAGNER
1334 MAPLE AVE
ESSEX, MD 21221

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Case 1:24-cv-03744-BAH Document 16-4 Red 01/03/25 Page 29 of 34

STATE OF MARYLAND

"DMMISSION ON JUDICIAL DISABILITIES

: P.O. Box 340
Linthicum Heights, Maryland 21090-0340

Ryan Dillon-Capps

1334 Maple Avenue

Essex. MD 212]

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JULIE L. ENSOR, CLERK

cuit Court for Baltimore County
COUNTY COURTS BUILDING
P.O. BOX 6754
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P.O. BOX 6754
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Page 30 of 34

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Case 1:24-cv-03744-BAH Document 16-4 Filed 01/03/25 Page 31 of 34

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TOWSON, MARYLAND 21285-6754

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1334 MAPLE AVENUE
ESSEX, MD 21221

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TOWSON, MARYLAND 21285-6754

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1334 MAPLE AVE
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Page 32 of 34

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Case 1:24-cv-03744-BAH Document16-4 Filed 01/03/25 Page 33 of 34
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Document 16-4 Filed 01/03/25 Page 34 of 34

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Ryan Dillon-Capps
1334 Maple Avenue
Essex, Maryland 21221

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